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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                      CASE NO. 9:19-CV-81106-ROSENBERG/REINHART


  HENRY GRIGORIAN, individually and
  on behalf of all others similarly situated,

                 Plaintiff,

  v.

  TIXE REALTY SERVICES, INC., doing
  business as EXIT REALTY PREMIER ELITE,

                 Defendant.
                                                /

             ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
         RECOMMENDATION AND DENYING AMENDED MOTION TO DISMISS

         THIS CAUSE is before the Court upon Defendant Tixe Realty Services, Inc.’s Amended

  Motion to Dismiss the Amended Complaint. DE 27. The Court previously referred the Motion to

  the Honorable Bruce E. Reinhart for a Report and Recommendation. DE 29. On November 18,

  2019, Judge Reinhart issued a Report and Recommendation in which he recommended that the

  Amended Motion to Dismiss be denied. DE 39.

         Defendant has filed Objections to the Report and Recommendation. DE 49. Defendant

  first objects to the conclusion that the TCPA does not violate the First Amendment. Defendant

  has pointed to no case holding that the TCPA, without the government debt-collection exception,

  violates the First Amendment. See DE 27 at 3-5; DE 49 at 1-3. Meanwhile, Plaintiff’s Response

  to the Amended Motion to Dismiss and the Report and Recommendation cite to a myriad of cases
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  holding that the TCPA is constitutional when the government debt-collection exception is severed.

  See DE 33 at 2-7; DE 39 at 2. The Court agrees with the holdings of those cases.1

           Defendant objects that the TCPA prohibits only advertisements and telemarketing, which

  Defendant contends is not at issue in this case. To be sure, one provision of the TCPA applies

  only to unsolicited advertisements. See 47 U.S.C. § 227(b)(1)(C). Plaintiff has not, however, sued

  for a violation of that provision. Plaintiff instead contends that Defendant violated 47 U.S.C.

  § 227(b)(1)(A), a provision that is not restricted to advertisements or telemarketing. See DE 21 ¶¶

  10, 53, 57.

           Defendant objects that Plaintiff has not pled that Defendant used an automatic telephone

  dialing system to send the text messages at issue. The Amended Complaint demonstrates

  otherwise. See id. ¶¶ 26-36.

           Finally, Defendant maintains that the putative class described in the Amended Complaint

  should not be certified. As explained in the Report and Recommendation, this argument is more

  appropriately addressed at the class certification stage. DE 39 at 4-5.

           The Court has conducted a de novo review of the Amended Motion to Dismiss, Plaintiff’s

  Response thereto, the Report and Recommendation, Defendant’s Objections thereto, and the

  record and is otherwise fully advised in the premises. The Court agrees with the analysis and

  conclusion in the Report and Recommendation and finds Judge Reinhart’s recommendation to be

  well reasoned and correct.


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    Further, Defendant’s argument for unconstitutionality in its Objections—that the TCPA unconstitutionally restricts
  speech depending on how it is transmitted—was not an argument made in the Amended Motion to Dismiss, where
  Defendant argued that the TCPA unconstitutionally restricts commercial speech. See DE 27 at 4-5; DE 49 at 2.
  Defendant provides no authority to support this new argument, and the Court will not consider arguments that
  Defendant raises for the first time in its Objections. See Williams v. McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009)
  (holding that a district court has the discretion to decline to consider new arguments raised in objections to a Magistrate
  Judge’s report and recommendation). The Court also notes that Defendant asserts in headings in the Amended Motion
  to Dismiss and in its Objections that the TCPA is vague, but has provided no authority or legal analysis to develop
  this assertion, and therefore the Court does not address it. See DE 27 at 3-5; DE 49 at 1-3.

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          For the foregoing reasons, it is hereby ORDERED and ADJUDGED that:

          1.       Magistrate Judge Reinhart’s Report and Recommendation [DE 39] is ADOPTED
                   as the Order of the Court.

          2.       Defendant’s Objections to the Report and Recommendation [DE 49] are
                   OVERRULED.

          3.       Defendant Tixe Realty Services, Inc.’s Amended Motion to Dismiss the Amended
                   Complaint [DE 27] is DENIED.

          4.       Defendant shall file an Answer to the Amended Complaint [DE 21] by December
                   20, 2019.

          DONE and ORDERED in Chambers, West Palm Beach, Florida, this 12th day of

  December, 2019.



                                                     _______________________________
                                                     ROBIN L. ROSENBERG
                                                     UNITED STATES DISTRICT JUDGE
  Copies furnished to Counsel of Record




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